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 1   SO. CAL. EQUAL ACCESS GROUP
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 6   Attorneys for Plaintiff
     MIGUEL SOTO
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     MIGUEL SOTO,                                      Case No.: 2:20-cv-08039 PA (GJSx)
11
12                Plaintiff,
13         vs.                                         NOTICE OF VOLUNTARY
                                                       DISMISSAL OF ENTIRE ACTION
14                                                     WITH PREJUDICE
     ALL-OUT CARING, INC. D/B/A ACTS
15   THRIFT STORE; K, W & J, C
16   MANAGEMENT, LLC; and DOES 1 to
     10,
17
18                Defendants.
19
20
           PLEASE TAKE NOTICE that MIGUEL SOTO
21
      (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
22
     voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil
23
     Procedure Rule 41(a)(1) which provides in relevant part:
24
           (a) Voluntary Dismissal.
25
                  (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
26
                         and any applicable federal statute, the plaintiff may dismiss an action
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28
                         without a court order by filing:


                                                   1
          NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
     Case 2:20-cv-08039-PA-GJS Document 14 Filed 12/02/20 Page 2 of 2 Page ID #:69




 1                      (i)   A notice of dismissal before the opposing party serves either an
 2                            answer or a motion for summary judgment.
 3   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5   Court.
 6
 7   DATED: December 2, 2020        SO. CAL. EQUAL ACCESS GROUP
 8
 9                                  By:      /s/ Jason J. Kim
10                                        Jason J. Kim, Esq.
                                          Attorneys for Plaintiff
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          NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
